







TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN















TEXAS COURT OF APPEALS, THIRD
DISTRICT, AT AUSTIN

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  NO.&nbsp; 03-12-00471-CV
  
 




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D. H. a/k/a D. T., Appellant

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v.

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Texas Department of Family and Protective Services,
Appellee

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  FROM THE 345th
  District Court OF Travis COUNTY,
  
  NO. D-1-FM-11-000099,
  The&nbsp;Honorable&nbsp;Scott&nbsp;H.&nbsp;Jenkins,&nbsp;JUDGE&nbsp;PRESIDING
  
 




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  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
  R D E R
  PER CURIAM
  Appellant D.H. a/k/a D.T. filed her notice of appeal on July 16, 2012.&nbsp; The appellant’s brief was filed on December 27, 2012, making appellee’s
  brief due January 16, 2013. &nbsp;On January
  16, 2013, counsel for appellee filed a motion for extension of time to
  file appellee’s&nbsp;brief.
  Recent amendments to the rules of judicial administration accelerate
  the final disposition of appeals from suits for termination of parental
  rights.&nbsp; See Tex. R. Jud. Admin. 6.2(a), available at http://www.supreme.courts.state.tx.us/MiscDocket/12/12903200.pdf
  (providing 180 days for court’s final disposition).&nbsp; The accelerated schedule constrains this
  Court’s leeway in granting extensions.&nbsp;
  In this instance, we will grant in part the motion and order counsel
  to file appellee’s brief no later than February 6, 2013.&nbsp; If the
  brief is not filed by that date, counsel may be required to show cause why she should
  not be held in contempt of&nbsp;court.
  It is ordered on January 22,
  2013.
  Before Chief
  Justice Jones, Justices Goodwin and Field 
  
 









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